Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 1 of 7 PageID #: 145
Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 2 of 7 PageID #: 146
Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 3 of 7 PageID #: 147
Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 4 of 7 PageID #: 148
Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 5 of 7 PageID #: 149
Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 6 of 7 PageID #: 150
Case 5:17-cr-50014-TLB   Document 31   Filed 08/18/17   Page 7 of 7 PageID #: 151
